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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              DEL RIO DIVISION

JAVIER CAZARES, individually as             §
Wrongful Death Beneficiary of J.J.C.,       §
Deceased minor; et al.                      §
                                            §
      Plaintiffs,                           §
                                            §
v.                                          §   C.A. NO.: 2:24-cv-00045-AM-MHW
                                            §
JUAN MALDONADO, an individual,              §
et al.,                                     §
                                            §
             Defendants.                    §

                                        ORDER

      Pending before the Court is Defendant Mandy Gutierrez’s Motion to Dismiss

Pursuant to Rules 12(b)(1) and (6). Upon consideration of the Motion, it is the opinion of

this Court that Ms. Gutierrez’s Motion should be GRANTED.


      It is, therefore, ORDERED that the Motion is GRANTED, and Plaintiffs’ claims

against Ms. Gutierrez are dismissed with prejudice.



      SIGNED this _____ day of ________________ 2024.




                                         ______________________________________
                                         UNITED STATES DISTRICT JUDGE
